                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )     Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )     Case No. 21-61491
                                                         )     (Jointly Administered)
                          Debtors.                       )
                                                         )     Judge Russ Kendig


    NOTICE OF APPLICATION OF DEBTORS AND DEBTORS-IN-POSSESSION FOR
     ENTRY OF AN ORDER, PURSUANT TO SECTIONS 327(a) AND 328(a) OF THE
      BANKRUPTCY CODE AND BANKRUPTCY RULE 2014(a), AUTHORIZING
        DEBTORS TO EMPLOY AND RETAIN BROUSE MCDOWELL, LPA AS
    GENERAL BANKRUPTCY COUNSEL EFFECTIVE AS OF THE PETITION DATE


         PLEASE TAKE NOTICE THAT on December 3, 2021, the debtors and debtors-in-

possession (each a “Debtor” and collectively, the “Debtors”), in the above-captioned Chapter 11

cases, filed an Application for Entry of an Order, Pursuant to Sections 327(a) and 328(a) of the

Bankruptcy Code and Bankruptcy Rule 2014(a), Authorizing Debtors to Employ and Retain

Brouse McDowell, LPA as General Bankruptcy Counsel Effective as of the Petition Date (the

“Application”).

         Your rights may be affected. You should read the Application carefully and discuss it

with your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney,

you may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Application, or if you want the Court to consider your views on the Application,


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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then on or before December 17, 2021, you or your attorney must file with the Court a written

objection explaining your position at:

                              United States Bankruptcy Court
                              Office of the Clerk
                              Ralph Regula Federal Building and U.S. Courthouse
                              401 McKinley Avenue, SW
                              Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                              Marc B. Merklin
                              Julie K. Zurn
                              Brouse McDowell LPA
                              388 S. Main Street, Suite 500
                              Akron, Ohio 44311

                              Proposed Counsel for the
                              Debtors and Debtors-in-Possession

       Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.

Dated: December 3, 2021                      Respectfully submitted,

                                             /s/ Julie K. Zurn
                                             Marc B. Merklin (0018195)
                                             Julie K. Zurn (0066391)
                                             BROUSE McDOWELL, LPA
                                             388 S. Main Street, Suite 500
                                             Akron, Ohio 44311
                                             Telephone: (330) 535-5711
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                                             Proposed Counsel for the
                                             Debtors and Debtors-in-Possession




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